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           UNITED STATES DISTRICT COURT FOR THE
              NORTHERN DISTRICT OF FLORIDA
                   PANAMA CITY DIVISION

MC3 INVESTMENTS LLC,

     Plaintiff/Counter-Defendant,

v.                                              Case No. 5:22-cv-260-MJF

THE LOCAL BRAND, INC.,

     Defendant/Counter-Plaintiff.
                                       /

                                  ORDER

     This matter is before this court on Defendant’s motion to deny the

appearance of Henry Lawrence Perry, who entered an appearance on

behalf of Plaintiff. Doc. 106.

     Generally speaking, the Due Process Clause of the Fifth

Amendment affords civil litigants the right to counsel of their choice. In

re BellSouth Corp., 334 F.3d 941, 955 (11th Cir. 2003); accord Adir Int’l,

LLC v. Starr Indem. & Liab. Co., 994 F.3d 1032, 1039 (9th Cir. 2021).

This right is not absolute, and a district court may deny a litigant’s choice

of counsel where the “choice would interfere with the orderly

administrative of justice.” In re BellSouth, 334 F.3d at 955–56 (quoting



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United States v. Dinitz, 538 F.2d 1214, 1219 (5th Cir. 1976)); see Robinson

v. Boeing Co., 79 F.3d 1053, 1055 (11th Cir. 1996).

     For example, district courts properly may deny a litigant the choice

of counsel when a litigant elects to associate with counsel for an improper

purpose like delay, or recusal of the presiding judge. Robinson, 79 F.3d

at 1056. In addressing this question, federal courts can consider the

following factors: (1) the fundamental right to counsel; (2) the injury to

the plaintiff; (3) the delay in reaching decision; (4) the judicial time

invested; (5) the expense to the parties objecting; and (6) the potential for

manipulation or impropriety. Id. at 1055.

     Plaintiff states that it elected to associate with Mr. Perry because

Mr. Perry has experience as a trial attorney in the Northern District of

Florida. Further, Plaintiff has provided Mr. Perry with all the relevant

documents to assist lead counsel in trial. At bottom, Defendant asserts

that Mr. Perry should not be permitted to appear as co-counsel in this

case because Mr. Perry is not familiar with the case. Defendant has not

alleged that allowing Mr. Perry to appear in this matter would result in

undue delay or that Plaintiff has attempted to manipulate the

proceedings.


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     The undersigned concludes that Mr. Perry’s appearance in this suit

would not require the undersigned to recuse himself. Further, although

Mr. Perry entered his appearance on the eve before trial, the appearance

of Mr. Perry would not require this court to continue the trial. Mr. Perry

has read the relevant pleadings in this action and is prepared to proceed

to trial as planned. Finally, Defendant has not shown that it will suffer

or has suffered any injury or expense if Mr. Perry is permitted to

represent Plaintiff.

     Accordingly, it is ORDERED that Defendant’s motion to deny the

appearance of Henry Lawrence Perry is DENIED.

        SO ORDERED this 6th day of September, 2023.

                                    /s/ Michael J. Frank
                                    Michael J. Frank
                                    United States Magistrate Judge




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